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                                            EXHIBIT 4-A
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Case 3:20-cv-01480 Document 1-7 Filed 09/17/20 Page 4 of 8
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Case 3:20-cv-01480 Document 1-7 Filed 09/17/20 Page 7 of 8
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                 Case 3:20-cv-01480 Document 1-9 Filed 09/17/20 Page 1 of 2
Department of Defense Manpower Data Center                               Results as of : Apr-14-2020 01:30:27 PM
                                                                                                                          EXHIBIT 6
                                                                                                                                                                                          SCRA 5.4




SSN:                           XXX-XX-9726
Birth Date:
Last Name:                     RODRIGUEZ-RODRIGUEZ
First Name:                    CARMEN
Middle Name:                   ROSA
Status As Of:                  Apr-14-2020
Certificate ID:                MYJQFVQWN5GGCKP

                                                                                On Active Duty On Active Duty Status Date

            Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component
                    NA                                                   NA                                                     No                                          NA

                                                      This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                        Left Active Duty Within 367 Days of Active Duty Status Date
            Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component
                    NA                                                   NA                                                     No                                          NA

                                         This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                 The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

         Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component
                    NA                                                   NA                                                     No                                          NA

                                            This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
                             Case 3:20-cv-01480 Document 1-9 Filed 09/17/20 Page 2 of 2
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.

The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).

This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected

WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
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  DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of Puerto Rico

                                                                     )
                                                                     )
                                                                     )
UNITED STATES OF AMERICA                                             )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
CARMEN ROSA RODRÍGUEZ RODRÍGUEZ a/k/a CARMEN R.
                                                                     )
RODRÍGUEZ RODRÍGUEZ, as joint debtor and as known member of          )
the Estate of DIMAS HERIBERTO RODRÍGUEZ RODRÍGUEZ a/k/a              )
DIMAS H. RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ
RODRÍGUEZ; DILIA RODRÍGUEZ MONTILLA, et als.                         )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address)
  DILIA RODRÍGUEZ MONTILLA as known member of the Estate of DIMAS HERIBERTO RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS H.
  RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ RODRÍGUEZ
  Road 140 KM 4.2
  Don Alonso Ward
  Utuado, P.R. 00641
  Postal address: 107 Smith Lane #25 Syracuse NY 13210-4606


           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
  complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
  the plaintiff or plaintiff’s attorney, whose name and address are:
 Juan C. Fortuño Fas

  PO Box 9300 San Juan, PR 00908


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                FRANCES RIOS DE MORAN, ESQ.
                                                                                CLERK OF COURT


  Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 3:20-cv-01480 Document 1-10 Filed 09/17/20 Page 2 of 2


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                         Case 3:20-cv-01480 Document 1-11 Filed 09/17/20 Page 1 of 2

  DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of Puerto Rico

                                                                     )
                                                                     )
                                                                     )
UNITED STATES OF AMERICA                                             )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
CARMEN ROSA RODRÍGUEZ RODRÍGUEZ a/k/a CARMEN R.
                                                                     )
RODRÍGUEZ RODRÍGUEZ, as joint debtor and as known member of          )
the Estate of DIMAS HERIBERTO RODRÍGUEZ RODRÍGUEZ a/k/a              )
DIMAS H. RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ
RODRÍGUEZ; DILIA RODRÍGUEZ MONTILLA, et als.                         )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address)
  VILMA SONNIER a/k/a VILMA RODRÍGUEZ MONTILLA as known member of the Estate of DIMAS HERIBERTO RODRÍGUEZ
  RODRÍGUEZ a/k/a DIMAS H.RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ RODRÍGUEZ
  Road 140 KM 4.2
  Don Alonso Ward
  Utuado, P.R. 00641
  Postal address: 201 Opta St. Maurice, LA 70555


           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
  complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
  the plaintiff or plaintiff’s attorney, whose name and address are:
 Juan C. Fortuño Fas

  PO Box 9300 San Juan, PR 00908


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                FRANCES RIOS DE MORAN, ESQ.
                                                                                CLERK OF COURT


  Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 3:20-cv-01480 Document 1-11 Filed 09/17/20 Page 2 of 2


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                         Case 3:20-cv-01480 Document 1-12 Filed 09/17/20 Page 1 of 2

  DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of Puerto Rico

                                                                     )
                                                                     )
                                                                     )
UNITED STATES OF AMERICA                                             )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
CARMEN ROSA RODRÍGUEZ RODRÍGUEZ a/k/a CARMEN R.
                                                                     )
RODRÍGUEZ RODRÍGUEZ, as joint debtor and as known member of          )
the Estate of DIMAS HERIBERTO RODRÍGUEZ RODRÍGUEZ a/k/a              )
DIMAS H. RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ
RODRÍGUEZ; DILIA RODRÍGUEZ MONTILLA, et als.                         )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address)
  LOURDES KNAPP a/k/a LOURDES RODRÍGUEZ MONTILLA as known member of the Estate of DIMAS HERIBERTO RODRÍGUEZ
  RODRÍGUEZ a/k/a DIMAS H.RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ RODRÍGUEZ
  Road 140 KM 4.2
  Don Alonso Ward
  Utuado, P.R. 00641
  Postal address: 320 C-4 Hiddenwood Dr. Newport News, VA 23606


           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
  complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
  the plaintiff or plaintiff’s attorney, whose name and address are:
 Juan C. Fortuño Fas

  PO Box 9300 San Juan, PR 00908


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                FRANCES RIOS DE MORAN, ESQ.
                                                                                CLERK OF COURT


  Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 3:20-cv-01480 Document 1-12 Filed 09/17/20 Page 2 of 2


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                    PROOF OF SERVICE
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          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
                         Case 3:20-cv-01480 Document 1-13 Filed 09/17/20 Page 1 of 2

  DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of Puerto Rico

                                                                     )
                                                                     )
                                                                     )
UNITED STATES OF AMERICA                                             )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
CARMEN ROSA RODRÍGUEZ RODRÍGUEZ a/k/a CARMEN R.
                                                                     )
RODRÍGUEZ RODRÍGUEZ, as joint debtor and as known member of          )
the Estate of DIMAS HERIBERTO RODRÍGUEZ RODRÍGUEZ a/k/a              )
DIMAS H. RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ
RODRÍGUEZ; DILIA RODRÍGUEZ MONTILLA, et als.                         )
                                                                     )
                           Defendant(s)                              )

                                                  SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address)
  LOURDES KNAPP a/k/a LOURDES RODRÍGUEZ MONTILLA as known member of the Estate of DIMAS HERIBERTO RODRÍGUEZ
  RODRÍGUEZ a/k/a DIMAS H.RODRÍGUEZ RODRÍGUEZ a/k/a DIMAS RODRÍGUEZ RODRÍGUEZ
  Road 140 KM 4.2
  Don Alonso Ward
  Utuado, P.R. 00641
  Postal address: 320 C-4 Hiddenwood Dr. Newport News, VA 23606


           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — or 90 days in a Social Security Action — you must serve on the plaintiff an answer to the attached
  complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on
  the plaintiff or plaintiff’s attorney, whose name and address are:
 Juan C. Fortuño Fas

  PO Box 9300 San Juan, PR 00908


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                                FRANCES RIOS DE MORAN, ESQ.
                                                                                CLERK OF COURT


  Date:
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 3:20-cv-01480 Document 1-13 Filed 09/17/20 Page 2 of 2


DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                          .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                             , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


          My fees are $                         for travel and $                     for services, for a total of $                     .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:

_______________________________________________________________________________________________
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                                   UNITED STATES DISTRICT COURT
                                             DISTRICT OF PUERTO RICO

                                                   CATEGORY SHEET


               You must accompany your complaint with this Category Sheet, and the Civil Cover Sheet (JS-44).



Attorney Name (Last, First, MI):     Fortuño, Juan Carlos

USDC-PR Bar Number:         211913

 Email Address:             jcfortuno@fortuno-law.com



1.      Title (caption) of the Case (provide only the names of the first party on each side):

        Plaintiff:         United States of America

        Defendant:         Carmen Rosa Rodríguez Rodríguez

2.     Indicate the category to which this case belongs:
            Ordinary Civil Case
            Social Security
            Banking
            Injunction

3.      Indicate the title and number of related cases (if any).

        N/A


4.      Has a prior action between the same parties and based on the same claim ever been filed before this Court?

              Yes
              No

5.      Is this case required to be heard and determined by a district court of three judges pursuant to 28 U.S.C. § 2284?

              Yes
              No

6.      Does this case question the constitutionality of a state statute? (See, Fed.R.Civ. P. 24)

              Yes
              No



Date Submitted:

                                                                                                                     rev. Dec. 2009


                                                        Print Form             Reset Form
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